
869 So.2d 866 (2004)
STATE ex rel. Emanuel CALVIN
v.
STATE of Louisiana.
No. 2003-KH-0870.
Supreme Court of Louisiana.
April 2, 2004.
Writ granted in part; otherwise denied. Because the terms of the statutes under which relator was sentenced do not include a prohibition on parole, see R.S. 14:62; R.S. 14:60; R.S. 15:529.1, relator's sentence is amended to delete the prohibition. Relator's parole eligibility is to be determined by the Department of Corrections pursuant to R.S. 15:574.4. State ex rel. Meeks v. State, 98-1930 (La.1/29/99), 736 So.2d 820; St. Amant v. 19th J.D.C., 94-0567 (La.9/3/96), 678 So.2d 536; cf. State ex rel. Simmons v. Stalder, 93-1852 (La.1/26/96), 666 So.2d 661. The district court is directed to make an entry in the minutes reflecting this change. In all other respects, the application is denied as untimely. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189.
